     Case: 2:00-cr-00094-SA-DAS Doc #: 275 Filed: 05/17/06 1 of 2 PageID #: 577




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 DELTA DIVISION

UNITED STATES OF AMERICA,                                                              PLAINTIFF

v.                                                                                No. 2:00CR94-P

MACK ARTHUR BOWENS,                                                                 DEFENDANT

                                       AMENDED ORDER

       This matter comes before the court on the government’s Memorandum and Response to

Bowens’s Objections to Presentence Report [255-1]. The government seeks an order requiring

the defendant Bowens to elect formally whether he wishes to proceed pro se with his sentencing

– or to proceed with appointed counsel. In the interests of fairness and clarity, the court agrees

that the defendant must formally elect whether he shall proceed pro se or with counsel.

       It is therefore ORDERED that:

       (1) The Government’s request in their Memorandum and Response to Bowens’s

Objections to Presentence Report [255-1] that the court enter an order requiring the defendant to

elect formally whether he wishes to defend himself pro se or with counsel is GRANTED;

       (2) The defendant is instructed to elect formally whether he intends to waive the right to

counsel and act pro se or whether he intends to proceed with counsel; the deadline for making

that election is thirty days from the date of this order,

       (3) In the event the defendant elects to proceed with counsel, the court shall strike the

defendant’s pro se February 8, 2006 objections to the presentence report and his pro se May 10,

2006, Motion For Clarification and/or Enforcement of Resentencing Order, and the defendant

shall be instructed not to contact the court in any way save through counsel; and
     Case: 2:00-cr-00094-SA-DAS Doc #: 275 Filed: 05/17/06 2 of 2 PageID #: 578




       (4) Should the defendant choose to proceed pro se, however, the court shall by separate

order set a hearing to ensure that the defendant’s waiver of the right to counsel is knowingly,

intelligently, and voluntarily given.

       SO ORDERED this the 17th day of May, 2006.


                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE




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